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                        UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS

KALDREN LLC,                            )
                                        )
              Plaintiff,                )
v.                                      )     Case No. 1:17-cv-6149
                                        )
RUST-OLEUM CORPORATION,                 )
                                        )
              Defendant.                )

          MEMORANDUM IN SUPPORT OF RUST-OLEUM CORPORATION’S
                          MOTION TO DISMISS
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I.      SUMMARY

        Plaintiff Kaldren LLC (“Kaldren”) initiated this litigation (and nearly forty similar claims

against other defendants) by alleging that Defendant Rust-Oleum Corporation (“Rust-Oleum”)

uses QR codes in violation of Kaldren’s recently acquired business method patents concerning

formatting digital data into a pattern. In response, Rust-Oleum respectfully requests that this Court

dismiss Kaldren’s Complaint for patent infringement with prejudice pursuant to Fed. R. Civ. P.

12(b)(6) for two reasons.

        First, the patents in suit fail the requirements of 35 U.S.C. § 101. The asserted claims of

Kaldren’s patents-in-suit are directed to an abstract idea, communicating data in a graphical format

(pattern), and thus, not patent eligible under 35 U.S.C. § 101. Further the generic processes of

encoding, decoding and communicating are not inventive. In fact, the asserted claims are so broad

and abstract that Kaldren apparently believes any use of Quick Response (“QR”) codes infringes

its patents.

        Second, even if the asserted claims were valid under 35 U.S.C. § 101, Rust-Oleum still

does not infringe the asserted patents under 35 U.S.C. § 271(a). As the claims require “encoding”,

“decoding” and “communicating.” Here, Kaldren fails to allege and cannot allege that Rust-Oleum

performs these processes.

        Thus, for the reasons set forth herein, Kaldren’s Complaint should be dismissed with

prejudice.




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II.      STATEMENT OF FACTS

         A.     The Parties

         Rust-Oleum is a leading manufacturer of premium consumer and industrial paint and

coating products with global headquarters located in Vernon Hills, Illinois.

         Kaldren is a Texas limited liability corporation which first registered to do business on

October 21, 2016. Effective November 1, 2016, Kaldren was assigned each of the four patents-in-

suit. Kaldren recorded the patent assignments with the United States Patent and Trademark Office

on March 13, 2017. Ten days later, March 23, 2017, Kaldren began filing numerous patent

infringement claims. To date, Kaldren has filed approximately forty claims related to the same

four patents. None of the cases have progressed beyond the initial pleadings.

         B.     The Complaint

         Kaldren asserts that in violation of 35 U.S.C. § 271(a) Rust-Oleum “makes and uses

(including testing by Defendant) one or more products that infringe” patent claims 1, 48, and 51-

55 of U.S. Patent No. 6,098,882 (Compl. Dkt. 1 Ex. A, hereinafter “the ’882 Patent”), claim 26 of

U.S. Patent no. 6,176,427 (Compl. Dkt. 1 Ex. B, hereinafter “the ’427 Patent”), claim 20 of U.S.

Patent No. 6,820,807 (Compl. Dkt 1 Ex. C, hereinafter “the ’807 Patent”), and claims 1, 4, 5 and

8 of U.S. Patent No. 8,281,999 (Compl. Ex. D, hereinafter “the ’999 Patent”) (collectively the

“Patents-in-Suit”). (Compl. Dkt. 1 (hereinafter Dkt. 1) ¶¶ 13, 16, 22, 28, 34).

         The Patents-in-Suit are all titled “Variable Formatting of Digital Data Into a Pattern”. (Dkt.

1 ¶¶ 7-10.). Per the Abstracts, the Patents-in-Suit are directed toward “a method of formatting

digital data and a method of decoding digital data” using “user selectable format parameters” to

“vary the dimensions and other attributes of spots and the cells containing those spots,” which the

“formatting process formats into a pattern.” (‘882 Patent at Abstract; ‘807 Patent at Abstract; ‘427



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Patent at Abstract; ‘999 Patent at Abstract). In short, the invention “acts as a channel for digital

communication” providing “the ability to link the printed page to the electronic world [and] can

be accomplished in any manner in which instructions can be digitized.” (‘882 Patent at 50:12-14;

‘427 Patent at 50:20-22; ‘807 Patent at 50:14-16; ‘999 patent at 49:24-26).

           Of the thirteen claims:

                 Seven claims relate to a “method of encoding data” or “a method of
                  encoding digital data”.

                  (‘882 Patent at 2205:2 (cl. 1), 2211:3 (cl. 48), 2211:20-32 (cls. 51-
                  55)).

                 Two claims relate to a “method of decoding digital data” or
                  “retrieving an information resource”.

                  (‘427 Patent at 57:13-25 (cl. 26); ‘807 Patent at 52:16-23 (cl. 20)).

                 And four claims relate to a “communication system.

                  (‘999 Patent at 50:25 (cl. 1), 50:43-47 (cls. 4-5), 51:10-22 (cl. 8)).


           Similar to the other nearly forty matters filed in the past six months, Kaldren alleges that

“Defendants Accused Product is its Quick Response (QR) codes that it uses with its products and

services.” (Dkt. 1. at ¶14.) And similar to each of its other complaints, Kaldren provides a cookie-

cutter claim chart that purports to show how Rust-Oleum’s use of QR codes satisfies each

limitation of the asserted claims. The charts provide images of Rust-Oleum materials using a QR

code and then relies on the definitional standards for QR codes to imply infringement. (Dkt. 1 Exs.

E-H). Notably, Kaldren does not allege that Rust-Oleum encodes the QR codes, that Rust-Oleum

decodes the QR codes, or that Rust-Oleum communicates the QR codes as described in the Patents-

in-Suit.




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       1.      Encoding Claims

       The purported invention is achieved “by a method of formatting digital data into a pattern

where the pattern comprises a number of cells (i.e., predetermined spaces in the pattern) with

known dimensions where each cell conveys at least one bit of data.” (‘882 Patent at 4:22-26; ‘427

Patent at 4:38-42; ‘807 Patent at 4:38-43; ‘999 Patent at 4:40-43). Each bit of data represents one

of at least two logical states “expressed by the presence of a spot with a given set of attributes in

the cell and a second logical state is expressed by the absence of a spot with those attributes from

the cell.” (‘882 Patent at 4:27-30; ‘427 Patent at 4:42-46; ‘807 Patent at 4:43-47; at ‘999 Patent

4:44-47).

       To encode the data into an image, the patent includes six steps: 1) specify parameters for

formatting; 2) select files to be printed; 3) compression (optional); 4) error correction; 5

formatting; and 6) outputting. (‘882 Patent at Fig. 2; 11:18-19). The patents do not identify a novel

form of compression affirmatively state that decompression may be accomplished by one of many

means known in the art. (Id. at 11:19-23).

       2.      Decoding Claims

       The decoding process is also generic. At a minimum, the method involves “the steps of

scanning (i.e. creating an electronic image of the substrate) and decoding.” (See e.g. ‘427 Patent

at 27:31-32). But the decoding process may also include error detection, error correction and

decompression. (See e.g. ‘427 Patent at 27:32-35).

       The Patents-in-Suit also identify steps taken in the encoding process to allow for decoding

data, the Patents-in-Suit provide “guideposts” or “markers” that “serve to identify the location of

spots on the printed substrate.” (‘882 Patent at 4:53-56; ‘427 Patent at 4:65-5:3; ‘807 Patent at




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4:66-5:4; ‘999 Patent at 4:65-5:3). As the Patents-in-Suit note, however, this process is known in

the prior art. (‘882 Patent at 4:55-56; ‘427 Patent at 5:3-4; ‘807 Patent at 5:4-5; ‘999 Patent at 5:3).

       3.       Communication Claims

       The Patents-in-Suit claim a method of communicating digital data. The first two steps,

“selection of format parameters” and “formatting” are “generally the same as the method of

encoding described and illustrated above.” (‘882 Patent at 44:42-47; ‘427 Patent at 44:59-64; ‘807

Patent at 44:53-58; ‘999 Patent at 44:2-5). The third step, distribution, is achieved through

traditional means of communication, such as facsimile, internet, postal delivery or hand delivery.

(‘882 Patent at 44:48-57; ‘427 Patent at 45:1-7; ‘807 Patent at 44:59-65; ‘999 Patent at 44:9-16).

Once distributed, the recipient decodes the information. (‘882 Patent at 45:11-15; ‘427 Patent at

45:28-29; ‘807 Patent at 45:22-23; at ‘999 Patent at 44:37-38).

       4.       Related Prior Art

       Although the Patents-in-Suit claim that they allow for the variable formatting of data, the

specifications concede that the idea of formatting data into various graphical patterns is not new,

and as the Patents-in-Suit note, prior art exists, including bar codes and other two-dimensional

codes. (‘882 Patent at 1:47-54; ‘427 Patent at 1:59-66; ‘807 Patent at 1:60-67; ‘999 Patent at 1:65-

66, 2:1-5). Each specification also concedes that “the prior art discloses methods for placing

machine readable information on media, such as paper.” (‘882 Patent at 1:38-40; ‘427 Patent at

1:50-52; ‘807 Patent at 1:51-53; ‘999 Patent at 1:57-59).

       5.       Use of Third Party Systems

       The processes described in the Patents-in-Suit rely on generic third party systems. As the

Patents-in-Suit note, “the method and system of the present invention can be implemented on any

computer system using any appropriate operating system.” (‘882 Patent at 9:6-10; ‘427 Patent at



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9:21-25; ‘807 Patent at 9:22-25; ‘999 Patent at 9:12-15). For example, to print and scan the

graphical images, the patents allow for use of a “wide audience of printers and scanners.” (‘882

Patent at 7:12-14; ‘427 Patent at 7:28-30; ‘807 Patent at 7:28-30; ‘999 Patent at 7:20-22). Thus,

the Patents-in-Suit disclose that a standard computer, running the Windows operating system along

with an inkjet or laser printer, and a flatbed scanner can perform the claimed invention. (‘882

Patent at 8:66-9:6; ‘427 Patent at 9:14-25; ‘807 Patent at 9:14-25; ‘999 Patent at 9:5-12).


III.     ARGUMENT

         The Patents-in-Suit are invalid under 35 U.S.C. § 101 and the Complaint also fails to allege

infringement by Rust-Oleum; requiring dismissal with prejudice.

         To survive a Rule 12(b)(6) motion, the complaint must not only provide the defendant with

fair notice of a claim’s basis but must also establish that the requested relief is plausible on its face.

See Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009); Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555

(2007). The allegations in the complaint must be “enough to raise a right to relief above the

speculative level.” Twombly, 550 U.S. at 555. While at the same time, the plaintiff need not plead

legal theories; it is the facts that count. Hatmaker v. Mem’l Med. Ctr., 619 F.3d 741, 743 (7th Cir.

2010).

         Whether the Patents-in-Suit are directed to ineligible subject matter under 35 U.S.C. § 101

is a “threshold test.” Bilski v. Kappos, 561 U.S. 593, 602 (2010). Patent eligibility under § 101 is

a question of law. CyberSource Corp. v. Retail Decisions, Inc., 654 F.3d 1366, 1369 (Fed. Cir.

2011). And thus the issue may be decided on a motion to dismiss. See e.g., Content Extraction and

Transmission LLC v. Wells Fargo Bank, Nat. Ass’n, 776 F.3d 1343, 1348 (Fed. Cir. 2014); 02

Media LLC v. Narrative Sci. Inc., 149 F. Supp. 3d 984, 988 (N.D. Ill. 2016) (J. Tharp Jr.); IQS US

Inc. v. Calsoft Labs Inc., 2017 WL 3581162, *5 (N.D. Ill. 2017) (J. Lefkow).



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       A.      The Asserted Claims are Invalid Under 35 U.S.C. § 101

       In Alice Corp. Pty. Ltd. v. CLS Bank Int’l, 134 S. Ct. 2347 (2014), the Supreme Court

confirmed a two-step framework for determining whether a claim contains patent eligible subject

matter under 35 U.S.C. § 101. First, a court must “determine whether the claims at issue are

directed to a patent-ineligible concept.” Alice, 134 S. Ct. at 2355. Once a court determines the

concept is directed at a patent ineligible concept, the court considers “the elements of each claim

both individually and as an ordered combination” to determine if there is an “inventive concept.”

Id. (internal quotations omitted). Thus, if a claim which relies on an abstract idea does not include

any transformative elements, then it does not contain eligible subject matter under § 101 and is

invalid as a matter of law. Id. at 2360.

               1.      Alice Step One - The Claims are Directed at an Abstract Idea

       Patent ineligible concepts include laws of nature, physical phenomena, and abstract ideas.

Bilski, 56 U.S. at 594. Each of the thirteen claims are directed at the abstract ideas of 1) encoding

data into a graphical format, 2) decoding data from a graphical format, or 3) communicating data

in a graphical format. (‘882 Patent at 2205:2-3 (cl. 1), 2211:3-4 (cl. 48), 2211:20-32 (cls. 51-55);

‘427 Patent at 57:14-15 (cl. 26); ‘807 Patent at 52:15-16 (cl. 20); ‘999 Patent at 50:25 (cl. 1),

50:43-47 (cls. 4-5), 51:10 (cl. 8)). Encoding, decoding and communicating data are abstract ideas.

Recognicorp LLC v. Nintendo Co., 855 F.3d 1319, 1326 (Fed. Cir. 2010).

       In fact, Courts already recognize that generation and transmission of QR codes is inherently

abstract. The Federal Circuit recently affirmed a 12(b)(6) dismissal of a patent infringement claim

involving a QR code patent that provides a “method whereby a barcode is generated, affixed to a

mail object, and sent through the mail system” as directed to the abstract idea of “communicating

information about a mail object using a personalized marking.” Secured Mail Solutions LLC v.




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Universal Wilde, Inc., No. 2016-1728, 2017 WL 4582737, *5 (Fed. Cir. Oct. 16, 2017). Similarly

here, the idea of communicating data in a graphical format (pattern) is an abstract concept.

       Encoding, decoding and otherwise communicating data in a graphical format is

comfortably within the range of ideas the law considers abstract. See e.g., Recognicorp, 855 F.3d

at 1326 (encoding and decoding data is an abstract concept); Intellectual Ventures I LLC v. Capital

One Fin. Corp., 850 F.3d 1332, 1340-41 (Fed Cir. 2017) (organizing, displaying and manipulating

data encoded for human- and machine-readability is directed to an abstract concept); Content

Extraction and Transmission LLC, 776 F.3d at 1348 (extracting data from hard documents is an

abstract idea); Digitech Image Techs. v. Electronics for Imaging, Inc. 758 F.3d 1344, 1347, 1350-

51 (Fed. Cir. 2014) (capturing image data and altering it is an abstract idea); Elec. Power Grp. V.

Alstom F.A., 830 F.3d 1350, 1351 (Fed. Cir. 2015) (“collecting data from multiple sources,

analyzing the data, and displaying the results” is abstract).

       Nor does the “communication” language in the ‘999 Patent fare any better. The ‘999 Patent

claims 1, 4, 5 and 8 each recite claims directed to the abstract concept of “decoding a machine-

readable code formatted into a two-dimensional pattern.” (‘999 Patent 50:26-27 (cl. 1), 50:43-45

(cls. 4, 5), 51:10-11 (cl. 8). The claims do add limitations directed to using “communicating

means” and “networking means” to communicate with other computers in a network based on

decoded data. Id. Claims 4 and 5 specify that the network is the “Internet” and the use of a “uniform

resource locator”. Id. 50:43-47. Yet the addition does nothing to make the concepts any less

abstract. See In re TLI Communications LLC Patent Litig., 87 F. Supp. 3d 773, 784 (E.D. Va.

2015) (“tying an abstract idea to a general purpose computer or to the internet, without more, is

generally insufficient to make an abstract idea patentable”).




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       Because each of the claims relate to abstract concepts, the first step in Alice is satisfied,

and we move to the second.

               2.      Alice Step Two - The Patents Lack an Inventive Concept

       To claim patent eligibility on an abstract idea, there must be an “inventive concept” defined

as an “element or combination of elements that are sufficient to ensure that the patent in practice

amounts to significantly more than a patent upon the ineligible concept itself.” Alice, 134 S. Ct. at

2355 (citing Mayo Collaborative Servs. v. Prometheus Labs., Inc., 132 S. Ct. 1289 (2012)). Thus,

the “inventive concept” must transform the claimed abstract into a patent eligible application.

Alice, 134 S. Ct. at 2357. If, however, as occurs here, a claim does not include any transformative

elements, then it is invalid under § 101. Id. at 2360. Neither “conventional steps, specified at a

high level of generality” nor “the mere recitation of a generic computer cannot transform a patent-

ineligible abstract idea into a patent-eligible invention.” Id. at 2357-58. Nor does the recitation of

the use of a generic computer transform a patent-ineligible abstract idea into a patent eligible

invention.” Id. at 2358.

       In Secured Mail, the Federal Circuit upheld the district court’s dismissal of claims for

patent infringement of QR code related patents. Secured Mail, 2017 WL 4582737 at *7. In its step

two analysis, the Federal Circuit noted that there was nothing unique about encoding a document

with a QR code to send to a recipient to display electronic information. Id. at *6. Similar to the

present circumstances, the Federal Circuit noted that the well-known nature of the technology can

be discerned from the patents themselves. Id. “The patents mention that the invention can be

performed using many types of hardware, including personal computers, set top boxes, personal

digital assistances (PDAs), mobile phones, land-line phones, televisions, bar code readers, and all




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other physically and wirelessly connected reception devices generally known to those skilled in

the art.” Id. (internal citations omitted).

        Similarly, here, there is no inventive process. The Patents-in-Issue solve the abstract

process of communicating information using a distinct marking by encoding and decoding

information using “off-the-shelf personal computers and peripherals.” (‘882 Patent at 4:4-9). To

print and scan the graphical images, the patents allow for use of a “wide audience of printers and

scanners.” (Id. at 7:12-14). Thus the Patents-in-Suit disclose that a standard PC running the

Windows operating system along with an inkjet or laser printer and a flatbed scanner can perform

the claimed invention. (‘882 Patent at 8:66-9:6). As the Patents-in-Suit note, “the method and

system of the present invention can be implemented on any computer system using any appropriate

operating system.” (‘882 Patent at 9:6-10). The ability to use a “wide audience of “off the shelf

computers and peripherals” simply reaffirms the fact that nothing about the process of encoding,

decoding or communicating in the Patents-in-Suit is inventive. See e.g., bySafe, Inc. v. Google,

Inc., 765 F.3d 1350, 1355 (Fed. Cir. 2014) (claims that do not purport to improve the functioning

of a computer but merely use a computer to send and receive information are “not even arguably

inventive”).

        In fact, the Patents-In-Suit emphasize the very reason for the Alice test. As the Supreme

Court explained, “the patent in practice must amount to significantly more than a patent upon the

ineligible concept itself.” Alice, 134 S. Ct. at 2355. Here, it is simply Rust-Oleum’s generic use of

the QR codes that triggered Kaldren’s claim of patent infringement. (Dkt. 1 ¶¶ 13, 16, 22, 28, 34,

Exs. E-H). This is only emphasized by the nearly forty actions filed in the last six months against

the use of QR code in a multitude of industries. See e.g., Kaldren v. Citigroup, Inc., (No. 5:17-cv-

66 (E.D. Tex.)); Kaldren v. J.D. Power an Associates (No. 5:17-cv-68 (E.D. Tex)); Kaldren v.




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Procter & Gamble Company (No. 5:17-cv-71 (E.D. Tex.)); Kaldren v. Amer. Express Co. (No.

1:17-cv-3625 (S.D.N.Y.)); Kaldren v. Wausau Paper Corp. (No. 3:17-cv-664 (W.D. Wis.));

Kaldren v. Western States Envelope Co. (No. 2:17-cv-917 (E.D. Wis.)); Kaldren v. Anixter (No.

17-cv-04998 (N.D. IL)).

       Because the patents-in-issue fail the Alice test, this matter should be dismissed with

prejudice.

       B.      Rust-Oleum Cannot Infringe the Asserted Claims as a Matter of Law

       The Court should also dismiss Kaldren’s Complaint for failure to state a valid claim for

direct patent infringement under 35 U.S.C. § 271(a) and Kaldren does not plead any other claims.

To allege direct infringement of a patent method claim, a plaintiff must plead that the accused

infringer performs all steps of the claimed method. See Lucent Techs., Inc. v. Gateway, Inc., 580

F.3d 1301, 1317 (Fed. Cir. 2009. The “actual allegations must be enough to raise a right to relief

above the speculative level.” Twombly, 550 U.S. at 555. Absent sufficient factual allegations, a

Plaintiff fails to give “fair notice” upon which the claim rests. Id.

       Here, Kaldren merely alleges that Rust-Oleum infringes the asserted patents under 35

U.S.C. § 271(a). Yet Kaldren’s conclusory claims fail to meet the pleading standard because there

is no allegation that Rust-Oleum performs the limitations of the asserted claims. Addiction and

Detoxification Inst. L.L.C. v. Carpenter, 620 Fed. Appx. 934, 937 (Fed. Cir. 2015) (“bare

allegations that Defendants make, use, sell and offer for sale undefined ‘activities, methods and

procedures’ provide no detail whatsoever that would put Defendants on notice as to what activity,

method, or procedure it is alleged to infringe”).

       For each Patent-in-Suit, Kaldren merely alleges that “Defendant directly infringes [the

asserted claims]… by making and/or using (including testing) its Accused Product as shown in




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Exhibit [E-H]”. (Dkt. 1 ¶¶ 16, 22, 28, 34.). The exhibits merely show that Rust-Oleum used QR

codes and then argues a generic QR code satisfies every limitation in the patents-in-suit. Further,

the mere reference to “testing” is insufficient to sustain a patent infringement case. See Nalco Co.

v. Chem-Mod, LLC, No. 14-cv-2510, 2015 WL 6122811 at *4 (N.D. Ill. Oct. 15, 2015).

          Notably, there are no allegations that Rust-Oleum encoded, decoded or communicated the

packaging. The QR codes could well have been generated by third party suppliers or marketers.

The processes of communicating or decoding the packages are done exclusively by the consumers

themselves. There is no allegation, or reason, that Rust-Oleum would decode its own packages

that is a step for consumers. Similarly, the use of a “communication system” to locate a webpage

using the QR codes on Rust-Oleum’s packaging is also a step taken by the customer.

          Finally, the conclusory reference to the doctrine of equivalents does not save the

Complaint. To successfully plead the doctrine of equivalents, there must be some allegation that

the alleged infringement meets the three elements of the doctrine, (1) function performed; (2)

means by which function is performed; and (3) result achieved. Lear Siegler, Inc. v. Sealy Mattress

Co. of Mich. Inc., 873 F.2d 1422, 1425 (Fed. Cir. 1989). Kaldren fails to make such an allegation.

          Because Kaldren does not plead and cannot plead sufficient facts to allege direct

infringement under § 271(a), Rust-Oleum respectfully requests that this Court dismiss the

Complaint with prejudice.


IV.       CONCLUSION

          For the reasons set forth above, Kaldren’s complaint should be dismissed with prejudice

because (i) all of the asserted patent claims are invalid under 35 U.S.C. § 101 and/or (ii) the

complaint fails to sufficiently allege a claim for direct patent infringement under 35 U.S.C. §

271(a).



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Dated: November 2, 2017               Respectfully submitted,

                                      Rust-Oleum Corporation


                                      By:    /s/ William D. Patterson
                                             One of its attorneys


P. Stephen Fardy #6230900
William D. Patterson, #6294533
SWANSON, MARTIN & BELL, LLP
330 North Wabash Avenue, Suite 3300
Chicago, Illinois 60611
(312) 321-9100
sfardy@smbtrials.com
wpatterson@smbtrials.com




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                                 CERTIFICATE OF SERVICE

         The undersigned hereby certifies that on the 2d day of November 2017, a copy of the
foregoing MEMORANDUM IN SUPPORT OF RUST-OLEUM’S MOTION TO DISMISS was
filed electronically, notice of which will be sent by operation of the court's electronic filing system
to the following counsel of record:


 Peter J. Corcoran
 Corcoran IP Law, PLLC
 2019 Richmond Road, Suite 380
 Texarkana, Texas 75503
 Tel: (903) 701-2481
 Fax: (844) 362-3291
 Email: peter@corcoranip.com

 Mary K. Schulz
 Media Litigation Firm, P.C.
 1144 E. State Street, Suite A260
 Geneva, IL 60134
 Tel: (312) 213-7196
 Email: medialitigationfirm@gmail.com



                                               s/ William D. Patterson
                                               One of the Attorneys for Defendant

P. Stephen Fardy, #6230900
William D. Patterson, #6294533
SWANSON, MARTIN & BELL, LLP
330 North Wabash - Suite 3300
Chicago, Illinois 60611
(312)321-9100
(312)321-0990 fax
sfardy@smbtrials.com
wpatterson@smbtrials.com




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